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                Mahmoud KHALIL


                                        UNITED STATES DEPARTMENT OF JUSTICE

                                     EXECUTIVE OFFICE FOR IMMIGRATION REVIEW

                                           OFFICE OF THE IMMIGRATION JUDGE

                                                       JENA, LOUISIANA


                In the Matter of:

                Mahmoud KHALIL,                                        Hearing Date: NIA
                                                                       Hearing Time: N/ A
                Respondent,                                            Before: Hon. Judge Jamee E. Comans

                In Removal Proceedings.




                  MR. KHALIL'S MOTION TO RECONSIDER THE COURT'S JUNE 20, 2025 ORDER
                 (1) FINDING MR. KHALIL REMOVABLE UNDER INA§ 237(a)(4)(C), AND THAT HE
                 IS STATUTORILY BARRED FROM ELIGIBILITY FOR ASYLUM AND (2) FAILING
                    TO SET AN EVIDENTIARY HEARING ON ms REQUEST FOR Aw AIVER OF
                                  INADMISSIBILITY UNDER INA§ 237(a)(1)(H)

                  ON JUNE 11, 2025, A UNITED STATES DISTRICT COURT ENJOINED RELIANCE
                        ON THE SECRETARY OF STATE'S DETERMINATION AS LIKELY
                  UNCONSTITUTIONAL, THEREBY PRECLUDING USE OF THE SECRETARY OF
                    STATE'S DETERMINATION IN MR. KHALIL'S REMOVAL PROCEEDINGS.

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                        Respondent, Mr. Mahmoud KHALIL,                              through undersigned Counsel,

                respectfully submits this Motion to Reconsider the Court's Order dated June 20, 2025, in which

                this Court found that the U.S. Department of Homeland Security (DHS) sustained its burden to

                establish removability under hnmigration and Nationality Act (INA)§ 237(a)(4)(C). However, the

                U.S. District Court for the District of New Jersey had previously, on June 11, 2025, enjoined the

                Respondents in Mr. Khalil's federal habeas corpus case, which includes this Court, from relying

                on the Secretru.yof State's Detennination in seeking to remove Mr. Khalil, holding that it is likely

                unconstitutional under the Fifth Amendment. Accordingly, DHS and this Court are

                constitutionally prohibited from continuing to rely on the Determination in Mr. Khalil's removal

                proceedings, as well as on any and all legal consequences flowing from the Secreta1y of State's

                Dete1mination. This includes this Court's mlings that Mr. Khalil is statutorily ineligible for asylum

                due to the Secretary of State's Determination and its impermissible failure to set a hearing on his

                request for a waiver under INA§ 237(a)(l)(H) for the alleged misrepresentation contained in the

                post hoc second charge on the the01y that such a waiver, even if granted, would be "itTelevant"

                due to the finding ofremovability on the§ 237(a)(4)(C) charge for which there is no waiver as the

                Court stated at the April 11, 2025 hearing.

                        Throughout the course of the hearing Mr. Khalil stated, through counsel, numerous times

                that he intended to request the§ 237(a)(l)(H) waiver ifDHS's post hoc INA§ 237(a)(l)(A) charge

                was sustained by the Court. Because the Court has now sustained the post hoc § 237(a)(l)(A)

                charge of removability, Mr. Khalil must be afforded an evidentiaiy hearing on his application for

                a waiver of inadmissibility under INA§ 237(a)(l)(H) for which the previously submitted evidence

                of U.S. citizenship for his wife and son (see Exhibit 27, Tabs A-C) demonstrate his statut01y
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                     eligibility. The Court must, therefore, reconsider its June 20, 2025 decision and set an evidentiary

                     hearing at which Mr. Khalil can present his case for the grant of such a waiver.

                                                             INTRODUCTION

                             On June 11, 2025, the Honorable Judge Michael Farbiarz of the U.S. District Court for the

                     District of New Jersey enjoined the government from “seeking to remove [Mr. Khalil] from

                     the United States based on the Secretary of State’s determination, as reflected in the Secretary’s

                     memorandum to the Secretary of Homeland Security.” Khalil v. Joyce, 2:25-cv-01963-MEF-

                     MAH, Dkt. 299 (D.N.J. June 11, 2025). This Court and the Executive Office for Immigration

                     Review (EOIR) as agents of the Department of Justice under Attorney General Pamela Bondi – a

                     named Respondent in the federal habeas case – are bound by the District Court’s order. A copy of

                     the District Court order is attached as Tab A.

                             One week after the federal court’s preliminary injunction went into effect, on June 20,

                     2025, and mid-way through a bail hearing in federal court that would culminate in an order

                     requiring Mr. Khalil’s release from ICE custody, this Court issued a written decision which, as

                     relevant here, found that, based on “the letter from the Secretary of State explaining his

                     determination that the Respondent’s presence here has potentially serious adverse foreign policy

                     consequences for the United States … the Department has met its burden to establish removability

                     by clear and convincing evidence, that the Respondent is removable under section 237(a)(4)(C)(i)

                     of the Act as charged in the Notice to Appear and the Court sustains this charge of removability.”

                     Order dated June 20, 2025, at 5. The Court further held that Mr. Khalil is statutorily barred from

                     asylum because “the United States Secretary of State’s determination that the Respondent’s

                     presence and activities compromise the foreign policy of the United States is sufficient for a
EOIR — 3 of 27




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                                                                       341-1    FiledJNA07/07/25     Page 4 of 11 PageID:
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                     reasonable person to deem him a ‘non-trivial danger’ to the national security of the United States.”

                     Id. at 20.

                              The sole basis the Court relied on to sustain the charge of removability under INA §

                     237(a)(4)(C) is the Secretary of State’s determination regarding Mr. Khalil. Exhibit 7. In doing so,

                     this Court attempts to authorize Mr. Khalil’s removal based on that Determination – an

                     authorization that is legally nullified now and into the future by the District Court’s order enjoining

                     use and reliance upon the Rubio Determination. As this Court has been enjoined from seeking to

                     remove Mr. Khalil based on the Secretary of State’s determination, the Court must reconsider its

                     decision sustaining the charge of removability under INA § 237(a)(4)(C) and issue a new ruling

                     finding that DHS cannot and thus, has not, sustained its burden to establish Mr. Khalil’s

                     removability under INA § 237(a)(4)(C). Further, the Court must reconsider its decision finding

                     Mr. Khalil statutorily barred from asylum, as that finding similarly relied exclusively on the

                     Secretary of State’s enjoined Determination. That the government may disagree with the federal

                     District Court’s injunction is inconsequential. This Court must abide by that binding court order

                     unless and until it is stayed or ultimately reversed by the federal court of appeals or the Supreme

                     Court.

                              Additionally, in its order, this Court failed to address Mr. Khalil’s previously stated

                     intention to apply for a waiver of inadmissibility under INA § 237(a)(1)(H) should the Court,

                     despite the overwhelming evidence to the contrary, find Mr. Khalil removable on the INA §

                     237(a)(1)(A) post-hoc charge. Now that the Court has sustained the post-hoc charge of

                     removability under INA § 237(a)(1)(A)—for the first time in its June 20 order—Mr. Khalil is

                     statutorily eligible to apply for a waiver under § 237(a)(1)(H) and must be provided an evidentiary
EOIR — 4 of 27




                     hearing on that application.


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                                               RELEVANT PROCEDURAL HISTORY

                         On June 11, 2025, U.S. District Judge Farbiarz issued a prelimina1y injunction enjoining

                the government, including this Comt, from "seeking to remove [Mr. Khalil] from the United States

                based on the Secretary of State's dete1mination, as reflected in the Secreta1y's memorandum to the

                Secretary of Homeland Security." Tab A, District Comt Order at 12. The District Comt's order

                went into effect on June 13, 2025, at 8:30 a.m. Central Time. Id. That order remains in full effect

                and binding on DHS as well as this Comt today, as no stay has been entered by the federal comt

                of appeals. As such, DHS and EOIR have been and continue to be enjoined from relying on the

                Secretary of State's presumptively unconstitutional Determination in proceedings to remove Mr.

                Khalil from the United States.

                         On June 17, 2025, in light of the June 11, 2025 District Comt Order, Mr. Khalil submitted

                a Motion to Reconsider the Court's oral decision of April 11, 2025, which found that DHS had

                met its burden to sustain the charge ofremovability under INA§ 237(a)(4)(C)(i) against him. Mr.

                Khalil provided the Comt a copy of the District Court Order enjoining the Attorney General (and,

                thus, EOIR) from seeking to remove him based on the Secretary of State's Determination. The

                Motion was not adjudicated by this Comt prior to its June 20 rnling, which completely ignored the

                District Comt's June 11, 2025 Order and the pending June 17 Motion to Reconsider. 1

                         On June 20, 2025, this Court issued a written decision finding, inter alia, that DHS had

                met its burden to sustain the charge of removability under INA § 237(a)(4)(C). Specifically, the

                Comt's finding was ''based on Exhibit 7, the letter from the Secretaiy of State explaining his



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                  DHS submitted an opposition to the Motion to Reconsider on June 27, 2025. ECAS did not generate an email
                notification for this filing, so Mr. Khalil did not have an opportunity to reply. Mr. Khalil submits that DHS's
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N               arguments in opposition to his Motion to Reconsider on June 17, 2025 are in-elevant. Mr. Khalil was not required to
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                file a motion to reopen on June 17, 2025 as no final administrative order existed at that time. See INA§
LO              240(c)(7)(C)(i) ("Except as provided in this subparagraph, the motion to reopen shall be filed within 90 days of the
                date of entry of a final administrative order of removal.").
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                detennination that the Respondent's presence here has potentially serious adverse foreign policy

                consequences for the United States, and setting forth the reasons for those conclusions, (and) is

                facially reasonable and gives bona fide reasons for that determination." Order dated June 20, 2025,

                at 5. Based exclusively on the Secretru.y of State's Dete1mination, this Court found that "the

                Department has met its burden to establish removability by clear and convincing evidence, that

                the Respondent is removable under section 237(a)(4)(C)(i) of the Act as charged in the Notice to

                Appear and the Court sustains this charge of removability." Id. 2

                         This Comt further sustained the charge of removal under INA § 237(a)(l)(A), yet failed

                to schedule an evidentiary hearing on the§ 237(a)(l)(H) waiver, which Mr. Khalil had repeatedly

                stated he reserved the right to seek in the event the Court sustained that post-hoc chru.·geof

                removability. See, e.g., Exhibit 15; Respondent's Written Closing, submitted June 2, 2025;

                Transcript of Heru.·ingon May 22, 2025.

                         That same day, Judge Fru.-biarzissued an order granting Mr. Khalil's motion for release

                from immigration custody. Khalil v. Joyce, No. 2:25-cv-01963, Dkt. 316 (D.N.J. June 20, 2025).

                Mr. Khalil was released from custody that day. He subsequently filed a change of address with the

                Comt on June 22, 2025, reflecting his residential address in New York City where he resides with

                his family.

                         On June 30, 2025, this Court issued an order denying Mr. Khalil's Motion to Reconsider

                this Court's oral decision of April 11, 2025. The order stated, in its entirety: "The motion does not

                specify enors of law or fact in the previous order or is not supp01ted by pe1tinent authority. See



                2 That same day, this Cowt issued a decision denying Mr. Khalil's motion to schedule a bond hearing and finding him

                ineligible for bond because this Cowt had sustained the charge of removability under INA § 237(a)( 4)(C)(i). Although
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N               Mr. Khalil does not cw1·ently seek bond because he was released from custody pursuant to the District Cowt Order
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                on June 20, 2025, this Cowtmustalso reconsider its order denying Mr. Khalil's motion for a bond hearing in the event
IJ)             it becomes relevant, as the order similarly relies exclusively and impe1missibly on the Secreta1y's enjoined
                dete1mination.
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              INA§ 240(c)(6)(C); 8 C.F.R. § 1003.23(b)(2)." The Court did not offer further explanation of its

              decision to ignore the District Court Order.

                       Pursuant to 8 C.F.R. § 1003.23(b)(l)(iv), Mr. Khalil states that the validity of this Court's

              June 20, 2025 order has not yet been the subject of any judicial proceeding. However, during

              argument before Judge Farbiarz in the District of New Jersey on June 20, 2025, on Mr. Khalil's

              motion for release on bail, this Comt's order of that day was raised and Judge Farbiarz requested

              to be updated regarding it. Mr. Khalil submitted through counsel a briefletter to the Com1 on July

               1 pursuant to the Court's request.

                                                              ARGUMENT

                  A. The Court must reconsider its finding that, based on the enjoined Determination of
                     the Secretary of State, DHS met its burden to sustain the charge ofremovability under
                     INA§ 237(a)(4)(C)(i).

                       Pursuant to 8 C.F.R. § 1003.23(b), the Court may, upon written motion, reopen or

              reconsider a matter in which a final administrative order has been issued. See also INA §

              240(c)(6)(A). A motion to reconsider must be filed within thirty days of the date of entiy of a final

              administrative order, while a motion to reopen must be filed within ninety days of a final

              administrative order. 8 C.F.R. § 1003.23(b)(l). This motion is timely filed, as this Court's final

              order finding Mr. Khalil removable under INA§ 237(a)(4)(C)(i), finding him bru.Tedfrom asylum

              and declining to provide him a hearing in which he could apply for the§ 237(a)(l)(H) waiver was

              entered on June 20, 2025. This is Mr. Khalil's first motion to reconsider this Comt's written

              decision sustaining the charge of removability under INA§ 237(a)(4)(C)(i), 3 and is filed within

              30 days of that decision as required by§ 240(c)(6)(B). This Court's failure to abide by the District

              Court's injunction was both an error oflaw and an enor of fact. See INA§ 240(c)(6)(C).
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              3 The Court's April 11, 2025 oral decision, which was not accompanied by a written decision, was not a final
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              administrative order.
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                             Judge Farbiarz’s June 11 Order enjoined DHS, ICE, and the Attorney General (including

                     EOIR) from “seeking to remove [Mr. Khalil] from the United States based on the Secretary of

                     State’s Determination, as reflected in the Secretary’s memorandum to the Secretary of Homeland

                     Security.” See Tab A, District Court Order at 12. That injunction is based on the conclusion that

                     Mr. Khalil is likely to succeed on his argument that INA § 237(a)(4)(C)(i) is unconstitutional as

                     applied to him based on the Secretary of State’s Determination—the only document before this

                     Court that DHS has introduced to sustain its burden. See id. at 4 (citing Khalil v. Trump, 2025 WL

                     1514713, *56 (D.N.J. May 28, 2025)). That preliminary injunction went into effect at 8:30 a.m.

                     Central Time on June 13, 2025, and remains in full effect and is binding on this Court.

                             The government—including this Court, as a component of the U.S. Department of Justice

                     answerable to the Attorney General, a Defendant-Respondent in Mr. Khalil’s federal case—is

                     enjoined from seeking to remove Mr. Khalil based on the Secretary of State’s Determination, as

                     reflected in the Secretary of State’s memorandum to the Secretary of Homeland Security. Exhibit

                     7. As this Court’s written decision acknowledges, that Determination is the sole piece of evidence

                     that DHS provided to sustain the INA § 237(a)(4)(C) charge against Mr. Khalil, and it is the sole

                     piece of evidence this Court relied on to find the charge had been sustained. See Order dated June

                     20, 2025, at 5. As such, this Court is exclusively relying upon that Determination in ordering Mr.

                     Khalil’s removal on the foreign policy ground– a reliance the federal District Court enjoined on

                     June 11 as presumptively unconstitutional. The government may seek to appeal and stay that

                     injunction (indeed, it already has), but unless and until the federal court of appeals or the Supreme

                     Court issues a stay or reverses the injunction, the government, including this Court, must comply

                     with the injunction. To state what should be obvious, this Court is not at liberty to ignore a binding
EOIR — 8 of 27




                     federal court order.


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                        Precedent from the Supreme Court of the United States is clear that this Court is bound to

                follow injunctions issued by a federal district court. See, e.g., United States v. United Mine Workers

                of Am., 330 U.S. 258,293 (1947) ("[W]e find impressive authority for the proposition that an order

                issued by a court with jurisdiction over the subject matter and person must be obeyed by the parties

                until it is reversed by orderly and proper proceedings."). "The Constitution does not tolerate willful

                disobedience of judicial orders -   especially by officials of a coordinate branch who have sworn

                an oath to uphold it." JG.G. v. Trump, No. CV 25-766 (JEB), 2025 WL 1119481, at *l (D.D.C.

                Apr. 16, 2025), appeal filed by JG.G., et al v. Donald Trump, et al., No. 25-5124 (D.C.Cir., Apr.

                 17, 2025).

                        This Court's June 20, 2025, order finding that DHS has met its burden to sustain the charge

                of removability under INA§ 237(a)(4)(C) based on the Secretruy of State's Detennination is in

                direct contravention to the District Court order enjoining the government, including EOIR and

                DHS, from seeking to remove Mr. Khalil based on that Detennination. Accordingly, the Court

                must reconsider its decision of June 20, 2025, and find that the charge of removability under INA

                § 237(a)(4)(C) has not been and cannot be sustained. The Court must also therefore reconsider -

                and reverse - its decision that Mr. Khalil is statutorily bruTedfrom asylum based on the Secreta1y's

                Dete1mination.

                    B. Now that the Court has sustained the charge of removability under INA 237(a)(1)(A),
                       the Court must set a hearing on Mr. Khalil's INA§ 237(a)(1)(H) waiver.

                        As Mr. Khalil has previously stated multiple times in written filings and in Court, "in the

                event that the Court does sustain the chru·geunder INA§ 237(a)(l)(A) and an INA§ 237(a)(l)(H)

                waiver becomes relevant, Mr. Khalil reserves the right to submit evidence in support of that waiver

,-.             and have a full evidentiary heru·ing on the waiver request at a subsequent hearing." See, e.g., Mr.
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                Khalil's Written Closing Argument subinitted June 2, 2025.
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                                                                    PageID: 3917



                           In its June 20, 2025 Order, the Court-for                  the first time-sustained      the charge of

                removability under INA§ 237(a)(l)(A) yet failed to schedule an evidentiru.yheru.·ingat which Mr.

                Khalil could apply for and submit evidence on his request for an INA § 237(a)(l)(H) waiver,

                despite agreeing at the May 22 heru.·ingthat he had preserved the right to seek a§ 237(a)(l)(H)

                waiver should the Court sustain that chru.·ge.4

                           Mr. Khalil is statutorily eligible for an INA§ 237(a)(l)(H) waiver because he has a U.S.

                citizen wife and child, and because he was not inadmissible 5 on any other ground besides,

                allegedly, INA § 212( a)( 6)(C)(i) in November 2024 when he became a Lawful Permanent Resident

                of the United States. See INA § 237(a)(l)(H) (stating that certain noncitizens who were

                inadmissible at the time of admission due to fraud or misrepresentation are eligible for a waiver if

                they were "otherwise admissible to the United States at the time of such admission."). The

                Secretary of State's now-enjoined dete1mination was not issued until Mru.·ch2025, so Mr. Khalil

                could not possibly have been inadmissible on that basis in November 2024. This Court's enoneous

                (and constitutionally proscribed) June 20 decision to sustain the charge of removability under INA

                § 237(a)(4)(C) does not affect Mr. Khalil's eligibility for a waiver under INA § 237 (a)(l)(H),

                because he was othe1wise admissible at the time of admission, and thus entitled to seek the waiver.

                           The Court must therefore reconsider its June 20, 2025 decision and order that Mr. Khalil

                be provided a heru.·ingand an opportunity to submit evidence and present witnesses in support of

                his application for a waiver of inadmissibility pursuant to INA § 237(a)(l)(H). As set out in Mr.

                Khalil's concurrently filed motion to change venue, that future evidentiary heru.·ingshould take

                place before the New York Immigration Court, as the fomm nearest his place of residence.


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 0                  No certified transcript has yet been prepared of this proceeding from which to cite.
0               5 As the record makes clear, Mr. Khalil vehemently rejects the finding that he committed fraud or misrepresentation
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                when he completed his Form 1-485. The evidence simply does not support such a mling.
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                                                                      341-1      Filed 07/07/25   Page 11 of 11
                                                          PageID: 3918



                                                         CONCLUSION

                        For all the aforementioned reasons, the Court must grant this Motion, reconsider its

                decision dated June 20, 2025, and find that the charge of removability under INA§ 237(a)(4)(C)

                has not been and cannot be sustained. The Court must also reconsider its decision finding that Mr.

                Khalil is bru.Tedfrom asylum as a result of the Secretary's Dete1mination. Finally, the Comt must

                find that Mr. Khalil is statutorily eligible for an INA§ 237(a)(l)(H) waiver in continued removal

                proceedings.

                        Dated: July 3, 2025                                  Respectfully submitted,




                                                                             Mru.·cVan Der Hout
                                                                             Johnny Sinodis
                                                                             Oona Cahill
                                                                             Van Der Hout LLP

                                                                             Attorneys for Mr. Khalil




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